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  Attorneys for Defendant
  APT-320, LLC

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, an Nevada           )   CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company; CRAIG B.   )
  STANLEY, as Trustee for THE           )   CERTIFICATE OF SERVICE
  EDMON KELLER AND                      )
  CLEAVETTE MAE STANLEY                 )   [re: DEFENDANT APT-320,
  FAMILY TRUST; CRAIG B.                )   LLC’S JOINDER IN PLAINTIFFS
  STANLEY, individually; MILLICENT      )   ATOOI ALOHA, LLC, CRAIG B.
  ANDRADE, individually,                )   STANLEY, AS TRUSTEE FOR
                                        )   THE EDMOND KELLER AND
                    Plaintiffs,         )   CLEAVETTE MAE STANLEY
                                        )   FAMILY TRUST, CRAIG B.
        vs.                             )   STANLEY, AND MILLICENT
                                        )   ANDRADE’S SECOND
  ABNER GAURINO; AURORA                 )   REQUESTS FOR PRODUCTION
  GAURINO; ABIGAIL GAURINO;             )   OF DOCUMENTS TO
  INVESTORS FUNDING                     )   DEFENDANTS ABNER
  CORPORATION, as Trustee for an        )   GAURINO, AURORA GAURINO,
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  unrecorded Loan Participation          )   AND ABIGAIL GAURINO,
  Agreement dated June 30, 2014; APT-    )   DATED SEPTEMBER 8, 2017]
  320, LLC, a Hawaii Limited Liability   )
  Company; CRISTETA C. OWAN, an          )
  individual; ROMMEL GUZMAN;             )
  FIDELITY NATIONAL TITLE &              )
  ESCROW OF HAWAII and DOES 1-           )
  100 Inclusive,                         )
                                         )
                      Defendants.        )
                                         )

                           CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on the date indicated below, a copy of

 DEFENDANT APT-320, LLC’S JOINDER IN PLAINTIFFS ATOOI ALOHA, LLC,

 CRAIG B. STANLEY, AS TRUSTEE FOR THE EDMOND KELLER AND

 CLEAVETTE MAE STANLEY FAMILY TRUST, CRAIG B. STANLEY, AND

 MILLICENT ANDRADE’S SECOND REQUESTS FOR PRODUCTION OF

 DOCUMENTS TO DEFENDANTS ABNER GAURINO, AURORA GAURINO,

 AND ABIGAIL GAURINO, DATED SEPTEMBER 8, 2017, will be served upon the

 following parties:

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                   Cleavette Mae Stanley Family Trust;
                   CRAIG B. STANLEY, Individually; and
                   MILLICENT ANDRADE, Individually

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                   FIDELITY NATIONAL TITLE &
                   ESCROW OF HAWAII




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             CRISTETA C. OWAN

             DATED: Honolulu, Hawaii; September 12, 2017.


                                      /s/ Charles A. Price
                                      CHARLES A. PRICE
                                      Attorney for Defendant
                                      APT-320




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